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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
______________________________
                               )
JAMES MADISON PROJECT,         )
                               )
     Plaintiff,                )
                               )
v.                             ) Civil Action No. 18-01513 CKK
                               )
DEPARTMENT OF HEALTH           )
AND HUMAN SERVICES,            )
                               )
     Defendant.                )
                               )

                ANSWER TO FIRST AMENDED COMPLAINT

      Defendant, the Department of Health and Human Services, hereby answers

the first amended complaint:

                                FIRST DEFENSE

      Plaintiffs’ request for expedited processing of their Freedom of Information

Act (“FOIA”) request has been granted.

                               SECOND DEFENSE

      Records being sought by plaintiffs may be withheld in full or in part based

on the exemptions to the Freedom of Information Act (“FOIA”) set out in 5 U.S.C.

§ 552(b).

                               THIRD DEFENSE

      Defendant answers the numbered paragraphs of the first amended complaint
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as follows:

      1 and 2. These paragraphs are conclusions of law as to which no answer is

required.

      3 through 5. Defendant lacks knowledge or information sufficient to form a

belief about the truth of the allegations of this paragraph.

      6. It is admitted that defendant is an agency within the meaning of that term

as used in the FOIA.

      7. This paragraph is plaintiffs’ characterization of their case, as to which no

response is required.

      8 through 10. These paragraphs summarize news reports that appear on

internet sites, and the Court is referred to those reports, which are the best evidence

of their contents.

      11. This paragraph is plaintiff’s characterization of their lawsuit, as to

which no response is required.

      12. Defendant incorporates herein its preceding responses.

      13. Admitted.

      14. This paragraph quotes from the FOIA request, and the Court is referred

to the request, which is the best evidence of its contents.

      15 and 16. Admitted.




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       17. Because plaintiffs failed to submit a FOIA request containing the

required certification demonstrating a compelling need, their FOIA request for

expedited treatment was not perfected. Defendant has, however, granted the

request for expedited processing.

       18. The first sentence is denied. The second sentence is a conclusion of law

as to which no response is required.

       19. Defendant incorporates herein its responses to paragraphs 8 through 10

above.

       20. Defendant incorporates herein its responses to paragraphs 13 and 14.

       21. The first sentence is admitted. The second sentence is a conclusion of

law as to which no response is required.

       The remainder of the complaint is plaintiffs’ request for relief, and defendant

denies that plaintiffs are entitled to any relief.

                                          *****

       All allegations not expressly admitted are denied.

       WHEREFORE, defendant requests this Court to deny plaintiffs all relief

requested, dismiss the complaint with prejudice, grant defendant such other relief

as the Court deems appropriate, and award defendant the costs of this action.

                            Respectfully submitted,

                            JESSIE K. LIU, D.C. Bar #472845
                            United States Attorney
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               DANIEL F. VAN HORN, D.C. Bar #924092
               Chief, Civil Division

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